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               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF NEW YORK




David Perry,                                       Civil Action No.
                         Plaintiff,               1:21-CV-369 (DNH/DJS)

      v.

Vehicle Protection
Specialists, et al.,
                         Defendant.


           ORDER OF DISMISSAL BY REASON OF SETTLEMENT

      The Court has recently been informed by the parties that this case is

settled. Accordingly, pursuant to N.D.N.Y. L.R. 68.2(a), it is hereby

      ORDERED as follows:

      (1)    The above-captioned case is hereby dismissed and

discontinued in its entirety, without costs, and without prejudice to the right

of any party to reopen this action within sixty (60) days of the date of this

Order if the settlement is not consummated.

      (2)    Any application to reopen this case must be filed within sixty

(60) days of the date of this Order. An application to reopen filed after the

expiration of that sixty (60) day period, unless it is extended by the Court

prior to its expiration, may be summarily denied solely on the basis of

untimeliness.
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      (3)     If the parties wish for the Court to retain ancillary jurisdiction

for the purpose enforcing any settlement agreement, they must submit a

request that the Court retain jurisdiction over enforcement of the

agreement or submit the agreement to the Court for incorporation of its

terms into an Order retaining jurisdiction within the above-referenced sixty

(60) day period for reopening the matter.

      (4)     The dismissal of the above-captioned action shall become with

prejudice on the sixty-first (61st) day following the date of this Order,

unless any party moves to reopen this case within sixty (60) days of the

date of this Order upon a showing that the settlement was not

consummated, or the Court extends the sixty (60) day period prior to its

expiration.

      (5)     The Clerk of the Court is respectfully directed to close this

case and forward a copy of this Order to the parties pursuant to the

Court's local rules.


Dated:        May 27, 2021
              Utica, NY
                                       ___________________________
                                       David N. Hurd
                                       United States District Judge




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